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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF INDIANA
                               INDIANAPOLIS DIVISION

  ELI LILLY AND COMPANY, et al.                     )
                                                    )
                              Plaintiffs,           )
                                                    )
                         v.                         )     No. 1:21-cv-00081-SEB-MJD
                                                    )
  UNITED STATES DEPARTMENT OF                       )
  HEALTH AND HUMAN SERVICES, et al.                 )
                                                    )
                              Defendants.           )


                                PARTIAL FINAL JUDGMENT


         The Court, having on this day granted summary judgment in favor of Plaintiffs on

  Counts III and XII and in favor of Defendants on Counts X, XI, and XIII, finds, pursuant

  to Federal Rule of Civil Procedure 54(b), that there is no just reason for delay.

  Accordingly, partial final judgment is hereby entered in favor of Defendants and against

  Plaintiffs on Counts X, XI, and XIII and in favor of Plaintiffs and against Defendants on

  Counts III and XII. HHS's General Counsel's December 30, 2020 Advisory Opinion and

  HRSA's May 17, 2021 Enforcement Letter are hereby SET ASIDE and VACATED and

  HRSA's May 17, 2021 Enforcement Letter is REMANDED to the agency.

  Date: 10/29/2021                                      _______________________________
                                                         SARAH EVANS BARKER, JUDGE
                                                         United States District Court
                                                         Southern District of Indiana




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